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FILED

 

 

UNITED STATES COURT OF APPEALS JUN 02 2011
FOR THE NINTH CIRCUIT MG's COURT OF APPEALS
UNITED STATES OF AMERICA, No. 10-50206
Plaintiff - Appellee, D.C. No. 2:09-cr-00486-ODW-1
Central District of California,
v. Los Angeles
(
KEVIN LLOYD STANLEY, AKA Kevin | CLERK, US be ey couer
Stanley, ORDER
JUN -
Defendant - Appellant. N-2 2011

 

 

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At oral argument, the parties shall be prepared to discuss (1) Trulock v.

Before: BEEZER, TROTT, and RYMER, Circuit Judges.

Freeh, 275 F.3d 391 (4th Cir. 2001), and (2) United States v. Buckner, 473 F.3d
551 (4th Cir. 2007).

SO ORDERED.
